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                 EXHIBIT B
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                            ATTORNEYS' EYES ONLY

1                   UNITED STATES DISTRICT COURT
2                 NORTHERN DISTRICT OF CALIFORNIA
3                      SAN FRANCISCO DIVISION
4    _____________________________
                                   )
5    WAYMO LLC,                    )
                                   )
6               Plaintiff,         )
                                   )
7               vs.                )Case No.:
                                   )3:17-cv-00939-WHA
8    UBER TECHNOLOGIES, INC.,      )
     OTTOMOTTO LLC; OTTO TRUCKING )
9    LLC,                          )
                                   )
10              Defendants.        )
     _____________________________)
11
12
13                         ATTORNEYS' EYES ONLY
14                VIDEOTAPED DEPOSITION OF JAMES HASLIM
15                      San Francisco, California
16                       Tuesday, April 18, 2017
17                               Volume 1
18
19
20
21
22
23   Reported by:
     RACHEL FERRIER, CSR No. 6948
24   Job No. 2597892
25   PAGES 1 - 112

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                            ATTORNEYS' EYES ONLY

1    diodes?                                                            10:42:20

2       A      Yes.                                                     10:42:21

3       Q      And what are the X/Y coordinates mapped to?              10:42:21

4       A      They are referenced to fiducial marks on the PCB.        10:42:25

5       Q      And have you ever used holes for those?                  10:42:30

6       A      Sorry?                                                   10:42:35

7       Q      For the fiducials, have you ever used a hole as a        10:42:36

8    fiducial?                                                          10:42:42

9       A      No.     We have always placed the laser diodes using     10:42:43

10   the metal fiducial marks on the PCB.                               10:42:46

11      Q      And who came up with that idea?                          10:42:48

12             MR. KIM:     Objection; form.                            10:42:50

13             THE WITNESS:     I believe it's standard practice in     10:42:51

14   PCB manufacture.                                                   10:42:54

15   BY MR. JAFFE:                                                      10:42:56

16      Q      So who came up with using it for Fuji?                   10:42:56

17      A      I don't know.                                            10:42:58

18      Q      Okay.     When did that design come up?                  10:42:59

19      A      I don't remember the exact date, but I think you         10:43:03

20   suggested there was a certain time frame.            Did you say   10:43:09

21   December when boards went out?         It would be in that         10:43:11

22   approximate time frame.                                            10:43:17

23      Q      Well, just to be clear, I'm looking to your              10:43:17

24   testimony about this --                                            10:43:20

25      A      I understand.                                            10:43:20

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